    Case 3:25-cv-02847-AMO   Document 7-18   Filed 03/27/25   Page 1 of 9




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF WENDY YOUNG
PALO ALTO, et al.,                    (KIND) IN SUPPORT OF PLAINTIFFS’
              Plaintiffs,             MOTION FOR A TEMPORARY
                                      RESTRAINING ORDER AND
     v.                               PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
        Case 3:25-cv-02847-AMO          Document 7-18        Filed 03/27/25      Page 2 of 9




                          DECLARATION OF WENDY YOUNG,
                       PRESIDENT OF KIDS IN NEED OF DEFENSE


I, Wendy Young, make the following statements on behalf of KIND, Inc. Pursuant to 28
U.S.C. § 1746, I certify under penalty of perjury that the following statements are true and correct.
   1.    My name is Wendy Young, and I am the President of KIND, Inc., doing business as Kids
         in Need of Defense (“KIND”). KIND is the leading international not-for-profit
         organization devoted to protecting the rights and well-being of unaccompanied and
         separated children. Founded in 2008, KIND now has seventeen locations across the
         United States that have provided legal rights education to more than 78,000 children, and
         legal representation in immigration matters to more than 17,000 children in the United
         States. KIND staff provides legal services to unaccompanied immigrant children who
         are in the custody of the Office of Refugee Resettlement (ORR) of the Department of
         Health and Human Services (HHS) at 20 short-term shelter care or foster care facilities,
         five long-term foster care programs, and three Unaccompanied Refugee Minor (URM)
         programs served by KIND’s offices in Atlanta, GA; Boston, MA; Fresno, CA; Hartford,
         CT; Houston, TX; Los Angeles, CA; New York, NY; Sacramento, CA; and Seattle, WA.
         KIND also serves children released from ORR care and living in the communities served
         by those offices and by our offices and locations in Baltimore, MD; the District of
         Columbia; Jacksonville, FL; Newark, NJ; Northern Virginia; Orlando, FL; Providence,
         RI; and San Francisco, CA.
   2.    KIND provides representation and other services to migrant children in part through its
         staff, and in part through pro bono partnerships with nearly 900 law firms, corporations,
         law schools, and bar associations, whose lawyers provide children with pro bono
         representation with training and support from KIND. KIND also provides psychosocial
         support to children and families; works to address the root causes of child migration; and
         advocates for laws, policies, and practices to improve the protection of unaccompanied
         children within the U.S. and abroad.
   3.    KIND’s services to unaccompanied children in the United States comprise several main
         components:
            (1) During children’s time in ORR custody, KIND conducts educational “know your
            rights” (“KYR”) presentations that provide unaccompanied children with information
            about the immigration system, their rights and responsibilities, and what to expect in
            immigration court. KIND also conducts legal screenings to assess each child’s
            protection needs and evaluate options for legal relief as well as making appropriate
            referrals for further legal or social services during or after ORR custody. As needed,
            KIND may also support children in requests for release on recognizance or with
            notifications relating to changes of address and venue.

                                                 1
     Case 3:25-cv-02847-AMO         Document 7-18        Filed 03/27/25      Page 3 of 9




         (2) During ORR custody, if a child is required to attend immigration court, KIND will
         educate the child about immigration court processes and prepare them to attend the
         hearing, and will accompany the child to court in the capacity of “friend of the court”
         or, in limited circumstances, as attorney of record.
         (3) During ORR custody, KIND may provide legal representation for certain children
         where services as “friend of the court” are not sufficient for the child’s needs – for
         example, for children who are required to enter pleadings in their immigration removal
         proceedings during their time in ORR care, or children who are placed in federal long-
         term foster care.
         (4) Many children who live in communities served by KIND following release from
         ORR custody receive free legal representation through KIND’s network of pro bono
         attorneys and/or KIND staff. The KIND mentor assigned to each pro bono attorney
         offers specialized training programs and guidance on substantive law and skills needed
         for representing children, addresses the pro bono attorney’s questions, consults on case
         strategy, offers access to psychosocial services and other resources, and provides
         support at all phases of a child’s immigration case. KIND staff and KIND pro bono
         attorneys represent children in proceedings before the immigration courts, in
         administrative proceedings before U.S. Citizenship and Immigration Services
         (USCIS), in ancillary proceedings in state courts, and occasionally before the Board of
         Immigration Appeals, federal district courts, or federal courts of appeal.
         (5) Many children receiving legal services through KIND following release from ORR
         custody also receive psychosocial services through KIND, through a combination of
         direct services and referrals.
4.    KIND’s five original offices began providing legal services for released unaccompanied
      immigrant children through pro bono partnerships in January 2009, with two of those
      offices adding services for detained children later that year. Over time, KIND’s
      programming expanded to include additional locations in the United States, plus a
      program dedicated to serving children separated from their parents. Beyond the United
      States, KIND has staff in Mexico, Central America, and several countries in Europe, with
      a focus on protection, family unity, and strengthening child protection systems and access
      to lawful immigration pathways. KIND works with organizational and private sector
      partners to harness additional capacity in those regions.
5.    For the period January 2022 through December 2024 inclusive, KIND’s subcontract with
      Acacia supported know-your-rights presentations and legal screenings to over 16,900
      children in ORR custody, immigration legal representation for approximately 6,700
      children through KIND and its pro bono attorneys, and psychosocial services for
      approximately 2,400 children. During the same period, through other contracts and other


                                              2
     Case 3:25-cv-02847-AMO           Document 7-18        Filed 03/27/25       Page 4 of 9




      resources, KIND and its pro bono partners additionally represented approximately 3,700
      children, and KIND provided psychosocial services to approximately 1,100 children.
6.    In or about March 2022, KIND entered into a subcontract with the Vera Institute of Justice
      to deliver specified legal services to children arriving in the United States as
      unaccompanied children, renewable annually over a five-year period. KIND’s current
      contract with Acacia Center for Justice is a novation of that contract. The KIND-Acacia
      subcontract is in turn funded by a contract between Acacia and ORR. All of KIND’s
      seventeen locations in the United States deliver legal and social services funded through
      its subcontract with Acacia. From 2009 through 2021, KIND served children pursuant to
      subcontracts with Acacia’s predecessor, the Vera Institute for Justice.
7.    KIND staff regularly travel to almost twenty ORR shelter care and transitional foster care
      facilities in person, while one shelter regularly arranges for groups of children to visit the
      local KIND office in person due to capacity limitations at the ORR facility. The frequency
      of these visits varies with need, but on average, each KIND site held about four visits per
      month during 2024. KIND uses these visits to provide know-your-rights presentations,
      conduct legal screenings, prepare clients for court hearings, or conduct individual legal
      consultations. KIND staff also represent children placed in federal long-term foster care
      and in the Unaccompanied Refugee Minors program.
8.    Immigration removal proceedings are adversarial proceedings commenced by the
      Department of Homeland Security before immigration courts within the Department of
      Justice. Unaccompanied children, including very young children, are named as
      “respondents,” and must answer charges of removability and bear the burden of proof to
      establish a defense to forcible removal to countries where their rights, well-being, safety,
      or even their lives were at risk. The free legal and psychosocial services provided by
      KIND, and by other ORR-funded legal services providers, are essential to protecting the
      basic rights of children facing this process. Unaccompanied children do not have the
      financial resources to hire private counsel at market rates, and in KIND’s experience, few
      have family members of such means. Without free services, unaccompanied children --
      including very young, pre-verbal, and non-walking children -- would be forced to
      represent themselves through complex legal processes, facing trained and experienced
      government counsel while striving to present evidence and legal arguments in their own
      defense.
9.    Legal screenings by KIND staff for children in ORR custody serve to determine whether
      it is unsafe for a child to return to their country of origin, and to identify options for
      available legal relief in the United States. These assessments are necessary prerequisites
      to placement with pro bono attorneys who primarily practice in areas of law other than
      immigration, and depend on KIND for case assessments, training, practice guidance, and
      ongoing mentorship. KIND’s pro bono partners contributed approximately 1,487,244


                                               3
  Case 3:25-cv-02847-AMO            Document 7-18        Filed 03/27/25      Page 5 of 9




    hours of legal services, valued at over $889,000,000 dollars from 2009 to 2023. Thus, pro
    bono representation with KIND mentorship multiplies the effectiveness of the funding
    ORR provides to KIND.
10. Through legal representation by KIND or its pro bono partners, children pursue one or
    more forms of humanitarian relief, such as protection from parental maltreatment through
    special immigrant juvenile status, asylum based on a fear of persecution, T- or U-visas that
    protect victims of trafficking or other serious crimes, or temporary protected status based
    on untenable conditions in the country of origin. Children’s immigration cases have long
    timelines: in KIND’s experience, while a small proportion of cases resulting in permanent
    status are completed within two years, the majority take five to seven years to complete,
    with some taking longer. The chief reason is adjudication timelines. The immigration
    court backlog currently stands at well over 3.6 million cases, with wait times between
    hearings typically stretching to months or years. Moreover, most applications for
    humanitarian relief are adjudicated outside immigration courts. In 2024, USCIS stated
    that over 1.1 million asylum applications were pending before it, and applicants for other
    forms of relief likewise face years-long delays, most notably, the years-long waits for the
    limited supply of visas affecting special immigrant juveniles waiting to apply for green
    cards. These delays are beyond the control of children and their advocates. In addition,
    the process of preparing children’s applications for relief is time-consuming for several
    reasons. First, depending on the relief sought, evidentiary support for applications may
    include elements that require time and effort to obtain, such as: state juvenile court orders
    issued after evidentiary hearings; attestations by state or federal law enforcement officers;
    and/or medical, psychological, or other expert evaluations. In cases where a child’s initial
    request for relief is not approved, further time may be required to respond to requests for
    evidence or notices of intent to deny, as well as for appellate processes. Second, children
    in general, and particularly those who have experienced traumatic events, will need time
    to develop trust in unfamiliar adults and in the legal process itself, as the American Bar
    Association has recognized in cautioning against pressuring children to discuss distressing
    experiences before they are ready to do so. Third and more generally, preparation of a
    child’s case takes time due to the capacity limitations inherent in children’s ongoing
    cognitive and emotional development. As a principal drafter of the 2008 TVPRA
    explained, a child “usually knows nothing about U.S. courts or immigration policies and
    frequently does not speak English . . . . The majority of these children have been forced to
    struggle through an immigration system designed for adults.” (Cong. Rec. S10886 (Dec.
    10, 2008) (Sen. Feinstein)). State codes of professional responsibility typically require
    attorneys representing children with diminished capacity to maintain a normal attorney-
    client relationship to the greatest extent possible, and under American Bar Association
    standards, children must be afforded the right to meaningfully participate in decision-
    making in their cases. Accordingly, best practices for representing unaccompanied
    children contemplate applying trauma-informed and child-sensitive practices and

                                             4
  Case 3:25-cv-02847-AMO            Document 7-18        Filed 03/27/25      Page 6 of 9




    affording sufficient time to support the child client’s understanding of the proceedings and
    deliberation on matters affecting the child’s well-being. Fourth, children are not self-
    sufficient, so their participation in preparing a legal case depends on facilitation by
    individual or institutional caregivers who may present time constraints that are beyond a
    child’s control – for example, something as simple as a caregiver being unable to obtain
    leave from work to transport a child to a session with an attorney or expert. In sum,
    representing children in immigration matters requires a sustained multi-year time
    commitment in order to meet stringent evidentiary burdens, present effective advocacy,
    and support children in navigating complex and high-stakes processes.
11. Officials with government agencies have repeatedly recognized how KIND’s work
    contributes to their efficient and effective operations in handling children’s cases. Among
    other contributions, at the request of agency officials, KIND staff have conducted
    numerous training programs on topics relating to children’s immigration matters for staff
    of the immigration courts, USCIS, and the ICE Office of the Principal Legal Advisor
    (OPLA), which represents the government in removal proceedings. As one example
    among many, after KIND staff presented to USCIS asylum office staff on child-friendly
    interviewing techniques, senior officials of the office sent handwritten notes thanking
    KIND staff for the program. The office director stated, “I know our officers will greatly
    benefit from it!” and one training officer added, “We hope we can make it an annual
    event.”
12. Another example is a well-received initiative by KIND’s Boston office to accelerate the
    successful completion of numerous pending cases of KIND clients awaiting adjudication
    of their applications for lawful permanent residency (LPR) status, also known as a green
    card. LPR applicants have already cleared high legal standards and progressed through
    years-long waiting lists, only to wait again for scheduling of a merits hearing date in
    immigration court. To alleviate that bottleneck, during 2021, KIND staff identified dozens
    of clients who were immediately eligible to adjust status, lacking only a date on the court’s
    calendar for an adjustment hearing. Normally, just a handful of cases would be scheduled
    for an adjustment hearing on a given date, but through KIND’s coordination with OPLA
    attorneys and immigration court staff, 50 adjustment-ready cases were calendared on two
    selected dates in May and November 2021. By organizing required information to share
    with OPLA in advance, KIND helped to ensure a smooth and efficient hearing for each
    case. The court approved 21 cases on the May 2021 date, 25 children on the November
    2021 date, and the remainder on follow-up dates. Both the immigration court and OPLA
    praised KIND for efficiencies that resulted in removing cases in bulk from the court’s
    crowded docket as the KIND clients received permanent status.
13. On the afternoon of February 18, 2025, Acacia emailed KIND a redacted copy of a
    nationwide order that HHS (through the U.S. Department of the Interior) issued to stop
    work under the Legal Services for Unaccompanied Children contract, effective

                                             5
  Case 3:25-cv-02847-AMO           Document 7-18        Filed 03/27/25      Page 7 of 9




    immediately. The stop-work order applied to all lines of work performed under the
    contract, including KIND’s work on KYR presentations and legal screenings for children
    in ORR facilities, and legal representation for unaccompanied children in and outside
    ORR custody. Without further elaboration, the stop work order stated that it “shall remain
    in place until you are notified otherwise” and “is being implemented due to causes outside
    of your control and should not be misconstrued as an indication for poor performance.”
14. Based on the directives in the stop-work order, KIND instructed staff to immediately
    suspend visits to facilities served under the contract, stop accepting new referrals, cancel
    intake meetings with prospective clients, and not sign retainer agreements to take on new
    clients. KIND also instructed staff to continue critical ongoing work necessary to fulfill
    professional responsibilities to clients, including meeting filing deadlines and attending
    scheduled hearings and administrative interviews with clients. On the afternoon of
    February 21, 2025, KIND learned from Acacia that HHS had rescinded the stop-work
    order, without explanation.
15. On March 21, 2025, Acacia informed KIND via email that Acacia had received a notice
    partially terminating Contract 140D0422C0009, under which KIND is a subcontractor, for
    the government’s convenience. Acacia stated that the contract was terminated effective
    that same date for three of the four Contract Line Numbers (CLINs), and directed that
    work stop immediately under CLIN2, Legal representation for unaccompanied children
    not in ORR custody; CLIN3, which funds Immigrant Justice Corps fellows to represent
    unaccompanied children separately from those represented through CLIN 2; and CLIN4,
    Spanish language tutoring for organizational staff who work with children. KIND
    understands that only CLIN1, which funds KYR presentations and confidential legal
    consultations for unrepresented children in ORR facilities, remains in place, and is
    awaiting guidance from Acacia regarding whether there will be revisions to the relevant
    task orders, such as modifications to KYR services and any attendant budget or staffing
    changes.
16. Partial termination of the Acacia contract deprives KIND of the funding KIND relies on
    to employ approximately 350 professionals actively engaged in delivering or supporting
    the legal representation of some 6,700 clients. KIND cannot retain employees once
    contractual funding sources are unavailable, and we anticipate significant layoffs, starting
    within days of the contract termination. This interruption of employment disrupts the
    productivity, career development, and morale of scores of qualified and experienced
    workers who are skilled and experienced in serving unaccompanied children, and who
    cannot easily find replacement opportunities due to the broad geographic scope of the
    partial contract termination. More importantly, the partial contract termination makes the
    qualifications and experience of these employees unavailable to children in need of
    specialized services. Most funding KIND has received through other sources is dedicated
    to employing staff who provide specified services to additional clients through other

                                             6
  Case 3:25-cv-02847-AMO           Document 7-18        Filed 03/27/25      Page 8 of 9




    programs, and thus such employees and funding cannot compensate for the needs created
    by the partial contract termination.
17. Partial termination of the Acacia contract will disrupt thousands of attorney-client
    relationships on which children have relied, for multiple years in some cases, and leaves
    children without support for the completion of their pending cases. The sudden disruption
    of an established attorney-client relationship would be a blow for children who have
    invested time to develop a relationship of trust, particularly in the wake of traumatic
    experiences that led them to migrate in search of safety. This is particularly so because
    child clients benefit from a trauma-informed and child-centered practice as is cultivated at
    KIND. Many children served through KIND face impending deadlines or events in their
    cases. As of the date of this declaration, approximately 200 clients represented by KIND
    staff or by pro bono attorneys receiving KIND’s mentorship are scheduled for master or
    individual hearings in immigration courts in the next 60 days. This includes clients with
    immigration court hearings docketed for March 25, March 27, and April 8. A similar
    number of other required actions are scheduled in KIND’s cases in the next 60 days,
    including hearings in state court proceedings, deadlines to respond to requests for evidence
    in connection with immigration applications, and other filing deadlines and events.
18. KIND relied on contractual funding to commence representation in thousands of matters
    that, as discussed above, require years to complete. ORR’s partial termination of the
    contract will not automatically suspend pending removal proceedings nor resolve pending
    applications for relief. Nor will the partial contract termination automatically suspend
    deadlines in children’s cases, such as requirements to file an application or motion within
    a specified time period or before a client reaches a specified age. KIND retains
    professional obligations toward these thousands of vulnerable clients. By issuing the
    partial termination order with immediate effect, ORR has not even provided a timeline for
    communicating the changed circumstances to KIND’s thousands of clients; nor for
    attending to time-sensitive client needs or impending deadlines; nor for any
    accommodation of a lawyer's ethical obligations to a client under such circumstances, be
    they fulfilled through continued representation with alternative financial support,
    substitution of counsel, or withdrawal from representation.




                                             7
      Case 3:25-cv-02847-AMO            Document 7-18        Filed 03/27/25   Page 9 of 9




   19. The partial termination of the Acacia contract impedes KIND’s mission of ensuring that
       no child appears in immigration court without high-quality legal representation. For all
       of the reasons discussed here, KIND believes that the partial termination of the Acacia
       contract will upset children’s serious reliance interests in ongoing attorney-client
       relationships, diminish fairness, implicate due process considerations, impede the
       efficiency and effectiveness of court and agency processes due to increased numbers of
       unrepresented children, and thereby risk severe harm to children who have relied on their
       attorneys to see their claims for protection and relief through to conclusion.
I declare under penalty of perjury that the foregoing is true and correct.
Executed on the 25th of March 2025, in Falls Church, Virginia


               /s/ Wendy Young
Wendy Young
President
Kids in Need of Defense
PO Box 27839
Washington, DC 20038




                                                  8
